Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 1 of 10
Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 2 of 10
Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 3 of 10
Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 4 of 10
                                   Case 22-16289-CLC                                  Doc 73                      Filed 07/25/23                                                                              Page 5 of 10


                                       Su pago mensual total cambiará a partir del 09/01/2023.

                                              Análisis previo Nuevos pagos [60]-mes Faltante de depósito en garantía
                                                         Análisis previoPago actual           Nuevos pagos
                                                                                                             No tiene que[ZL1] pagar ninguna cantidad adicional en este momento y su faltante de depósito en garantía se distribuirá en 60 pagos mensuales. La [nueva] cantidad de su pago hipotecario será: 2,429.55


Capital o intereses                                 $1,350.16                         $1,350.16
                                                         Análisis previoPago actual           Nuevos pagos




Pago mensual de depósito en garantía                 *$989.58                         $1,079.39 No tiene que pagar ninguna cantidad adicional en este momento y su
                                                         Análisis previoPago actual           Nuevos pagos




 Impuesto                                              $442.58                          $444.73 faltante de depósito en garantía se distribuirá en 60 pagos mensuales.
                                                         Análisis previoPago actual           Nuevos pagos




 Seguro                                                $547.00                          $614.83 La [nueva] cantidad de su pago hipotecario será: $2,429.55
                                                         Análisis previoPago actual           Nuevos pagos




 Seguro hipotecario                                      $0.00                             $0.00
                                                         Análisis previoPago actual           Nuevos pagos




 Depósito en garantía mensual: ajuste de                 $0.00                            $19.83 Consulte la sección de Pagos de depósito en garantía proyectados para
 excedente/faltante                                                                                          obtener detalles
                                                         Análisis previoPago actual           Nuevos pagos




Cantidad de pago total                              $2,339.74                         $2,429.55


*La cantidad del pago de depósito en garantía del análisis previo es a la fecha del último análisis de depósito en garantía y no refleja el ajuste del pago
realizado si el faltante del depósito en garantía del año pasado se pagó en su totalidad.
                                             Case 22-16289-CLC                                                          Doc 73                                 Filed 07/25/23                                                                                                                                                                Page 6 of 10




                                                                                                                  Historial de depósitos en garantía
A continuación, se describe lo que pasó en su cuenta de depósito en garantía desde nuestra última revisión, en comparación con lo
que proyectamos que sucedería. Si hay cambios en sus impuestos o seguro, aparecerán en imprenta oscura y resaltados a
continuación. Esto debería ayudar a explicar por qué no había suficientes fondos en su cuenta de depósito en garantía para cubrir
los impuestos y el seguro este año pasado. Hemos marcado sus saldos mínimos más bajos con un asterisco (*). Los depósitos en
su depósito en garantía se suman y se muestran como una cantidad total para el mes.

Si usted presentó recientemente una solicitud de quiebra del Capítulo 13, hemos proporcionado a continuación una
comparación lado a lado de la actividad anteriormente proyectada de su cuenta de depósito en garantía con la
actividad real de la cuenta.


Si este es un estado de cuenta de depósito en garantía anual proporcionado durante su quiebra del Capítulo 13, la
actividad proyectada de la cuenta de depósito en garantía que se incluye a continuación ha sido elaborada conforme a los términos
de su plan del Capítulo 13. La actividad de la cuenta de depósito en garantía incluye la recepción de sus pagos hipotecarios
mensuales regulares para depósito en garantía y todos los pagos de corrección efectuados en virtud de los términos de su plan del
Capítulo 13 para cantidades de depósito en garantía adeudadas correspondientes al período anterior a su presentación de quiebra
o que venzan de otro modo en virtud de su plan del Capítulo 13. El cuadro que consta a continuación refleja la actividad del plan y
su actividad real para el próximo año. Si usted no puede completar los pagos de su plan del Capítulo 13 y su caso se desestima o
se convierte a un Capítulo 7, o bien si se elimina la suspensión automática, la actividad reflejada en el cuadro que consta a
continuación se utilizará para realizar su próximo análisis de depósito en garantía.

            Depósitos en el depósito en garantía                                                                           Pagos por medio del depósito en                                                                                                                                                                                                      Saldos del depósito en
                                                                                                                           garantía                                                                                                                                                                                                                             garantía
      Mes   Depósitos en                          Pago previsto                                       Descripción          Lo que pagamos Lo que                                                                                                                                                                                                  Descripción     Saldo real                Saldo
            el depósito en                        en el depósito                                                           por medio del  esperábamos                                                                                                                                                                                                                                       estimado del
                                                  en garantía                                                              depósito en    pagar por                                                                                                                                                                                                                                         último
                                                                                                                                          medio del
                                                                                                                                          depósito en
Mes                 Depósitos en el depósito en          Pago previsto en el depósito en garantía
                                                                                                                                          garantía
                                                                                                                               Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción                       Saldo real          Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía




Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía
                                                                                                    Descripción

                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en
                                                                                                                                                                                                                                                                                                                                             Saldo inicial
                                                                                                                                                                                                                                                                                                                                             Descripción
                                                                                                                                                                                                                                                                                                                                                                   -$28,263.10 Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                               $4,947.91
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 09/2022
Mes                 Depósitos en el depósito en
                                                                 $989.58 Depósito
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$28,263.10Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $5,937.49
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 10/2022
Mes                 Depósitos en el depósito en
                                                                 $989.58 Depósito
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$28,263.10Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $6,927.07
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 11/2022                                                         $989.58 Depósito                                               $5,336.81                                                                                                    $5,310.97 Impuesto del                                                                                                 -$33,599.91                 $2,605.68
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                       condado
                                                                                                                                                                                                                           Lo que esperábamos pagar por medio del depósito en                                                                Descripción                       Saldo Real          Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 12/2022
Mes                 Depósitos en el depósito en
                                                                 $989.58
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$33,599.91Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $3,595.26
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 01/2023
Mes                 Depósitos en el depósito en
                                                                 $989.58
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$33,599.91Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $4,584.84
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 02/2023
Mes                 Depósitos en el depósito en
                                                                 $989.58
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$33,599.91Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $5,574.42
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 03/2023
Mes                 Depósitos en el depósito en
                                                                 $989.58
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$33,599.91Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $6,564.00
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 04/2023
Mes                 Depósitos en el depósito en
                                                                 $989.58
                                                      Pagos Esperados en el Depósito en Garantía
                                                                                                    Depósito
                                                                                                    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$33,599.91Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $7,553.58
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 05/2023                                                                                                                        $7,378.00                                                                                                              Seguro                                                                                                     -$40,977.91*                  $7,553.58
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                       p/propiet
                                                                                                                                                                                                                           Lo que esperábamos pagar por medio del depósito en                                                                Descripción                       Saldo Real          Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 05/2023                                                         $989.58 Depósito                                                                                                                                                            $6,564.00 Seguro                                                                                                     -$40,977.91*                $1,979.16*
Mes                 Depósitos en el depósito en       Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en
                                                                                                                                                                                                                                                       p/propiet
                                                                                                                                                                                                                           Lo que esperábamos pagar por medio del depósito en                                                                Descripción                       Saldo Real          Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 06/2023
Mes
                $10,349.50
                    Depósitos en el depósito en
                                                        $989.58 Depósito
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción
                                                                                                                                                                                                                                                                                                                                                                    -$30,628.41Saldo Real
                                                                                                                                                                                                                                                                                                                                                                                                $2,968.74
                                                                                                                                                                                                                                                                                                                                                                                                   Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 07/2023        $32,126.65                              $989.58 Pago(s) esperado                                                                                                                                                                                                                                                                                      $1,498.24                 $3,958.32
Mes                 Depósitos en el depósito en
                                                                aún no recibido
                                                      Pagos Esperados en el Depósito en Garantía    Descripción                Lo que pagamos por medio del depósito en                                                    Lo que esperábamos pagar por medio del depósito en                                                                Descripción                       Saldo Real          Saldo estimado del último
                                                                                                                                                                                                                                                                     garantía


 08/2023           $989.58                              $989.58 Pago(s) esperado                                                                                                                                                                                                                                                                                      $2,487.82                 $4,947.90
Mes                 Depósitos en el depósito en
                                                                aún no recibido
                                                         Pago previsto en el depósito en garantía   Descripción                  <T H_Pagos por medio del depósito en gar antía>Lo que pagamos por medio del depósito en      <T H_Pagos por medio del depósito en gar antía>Lo que esper ábamos pagar por medio del depósito en gar antía
                                                                                                                                                                                                                                                                                                                                             Descripción                       Saldo Real          Saldo estimado del último



TOTAL          $43,465.73                            $11,874.96                                                               $12,714.81                                                                                          $11,874.97 Saldo final                                                                                                             $2,487.82                 $4,947.90
                                                       Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 7 of 10




Resumen de transacciones del depósito en                                                Reales                Previstas
garantía
R esumen de tr ansacciones del depósito en gar antía                                                 Reales                Previst as




Depósitos totales en el depósito en garantía
R esumen de tr ansacciones del depósito en gar antía
                                                                                           $43,465.73Reales
                                                                                                                 $11,874.96Previst as




Depositos mensuales
R esumen de tr ansacciones del depósito en gar antía
                                                                                            $43,465.73
                                                                                                     Reales
                                                                                                                  $11,874.96
                                                                                                                           Previst as




Pagos totales por medio del depósito en                                                    $12,714.81            $11,874.97
garantía
R esumen de tr ansacciones del depósito en gar antía                                                 Reales                Previst as




Seguro
R esumen de tr ansacciones del depósito en gar antía
                                                                                             $7,378.00
                                                                                                     Reales
                                                                                                                   $6,564.00
                                                                                                                           Previst as




Impuestos                                                                                    $5,336.81             $5,310.97

Esta estimación da por sentado que usted hará los pagos previstos que se muestran anteriormente.
                        Case 22-16289-CLC                                       Doc 73                     Filed 07/25/23                      Page 8 of 10




                                                                       Pagos proyectados del depósito en garantía
A continuación, consta un resumen de lo que prevemos que suceda en su cuenta de depósito en garantía el próximo año.
Utilizamos esta información para calcular su nuevo pago mensual.

                          Impuesto del Condado                                                                                                            $5,336.81
                          Seguro p/propiet                                                                                                                $7,378.00
                          Total previsto de desembolsos de depósito en
                          garantía:                                                                                                                    $12,714.81
Para calcular su pago de depósito en garantía mensual, sumamos el total de pagos previstos de impuestos o seguro y lo
dividimos por 12 meses: $12,714.81 /12 = $1,059.56.

       Sus pagos estimados de la cuenta de depósito en garantía en los próximos 12 meses
Dado que el pago hipotecario está atrasado, todos los pagos entre su último pago y la fecha de este análisis de 07/18/2023 se
reflejan como un pago global que se muestra en la tabla anterior. Los saldos a los que se hace referencia en el primer cuadro a
continuación son saldos proyectados antes de cualquier ajuste adecuado en su plan de quiebra. Dichos ajustes se muestran en
el segundo cuadro debajo de la proyección.

Mes                  Pagos al depósito en                            Pagos de impuestos                  Pago de seguros                     Pagos del seguro      Saldo previsto del
Mes
                     garantía      Su pago al depósito en garantía                  Pagos de Impuestos                     Pago de seguros
                                                                                                                                             hipotecario (MIP/PMI) depósito en garantía
                                                                                                                                                           Pago del seguro hipotecario   Saido previsto del depósito en garantía



Saldo inicial
Mes                                Su pago al depósito en garantía                  Pagos de Impuestos                     Pago de seguros                 Pago del seguro hipotecario
                                                                                                                                                                                         $2,487.82
                                                                                                                                                                                         Saido previsto del depósito en garantía



09/2023
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $3,547.38
                                                                                                                                                                                         Saido previsto del depósito en garantía



10/2023
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $4,606.94
                                                                                                                                                                                         Saido previsto del depósito en garantía



11/2023
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                $5,336.81
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                            $329.69
                                                                                                                                                                                         Saido previsto del depósito en garantía



12/2023
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $1,389.25
                                                                                                                                                                                         Saido previsto del depósito en garantía



01/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $2,448.81
                                                                                                                                                                                         Saido previsto del depósito en garantía



02/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $3,508.37
                                                                                                                                                                                         Saido previsto del depósito en garantía



03/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $4,567.93
                                                                                                                                                                                         Saido previsto del depósito en garantía



04/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $5,627.49
                                                                                                                                                                                         Saido previsto del depósito en garantía



05/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                    $7,378.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          -$690.95
                                                                                                                                                                                         Saido previsto del depósito en garantía



06/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                            $368.61
                                                                                                                                                                                         Saido previsto del depósito en garantía



07/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $1,428.17
                                                                                                                                                                                         Saido previsto del depósito en garantía



08/2024
Mes
                                 $1,059.56
                                   Su pago al depósito en garantía
                                                                                    $0.00
                                                                                    Pagos de Impuestos
                                                                                                                        $0.00
                                                                                                                           Pago de seguros
                                                                                                                                                                $0.00
                                                                                                                                                           Pago del seguro hipotecario
                                                                                                                                                                                          $2,487.73
                                                                                                                                                                                         Saido previsto del depósito en garantía



Saldo final                                                                                                                                                                              $2,487.73




Según la revisión de este año, su cuenta de depósito en garantía tendrá un faltante de $1,189.85. Esto se
calculó según el saldo mínimo más bajo, el cual está en letras oscuras en la tabla anterior, y los pagos para corregir
cantidades pendientes de pago antes de su presentación de quiebra. Nuestros registros actualmente muestran que
esta cantidad es de $1,620.24 y se incluye en el cálculo del saldo mínimo proyectado. Esta evaluación da por sentado
que se harán todos los pagos adeudados conforme a su plan de quiebra, incluidos los pagos hipotecarios
programados regularmente luego de su presentación de quiebra y los pagos para corregir cantidades que vencen en
su presentación de quiebra. Dado que su saldo mínimo proyectado es menor que el saldo mínimo requerido, su
cuenta tiene un faltante. El saldo mínimo requerido (el cual a veces también se denomina “colchón”) puede incluir
hasta dos meses de pagos del depósito en garantía (sin incluir su seguro hipotecario) para ayudarle a cubrir los
aumentos en sus impuestos y el seguro para propietarios de vivienda. El colchón actual de su cuenta es de
$2,119.14.
                       Case 22-16289-CLC          Doc 73      Filed 07/25/23     Page 9 of 10



           Saldo mínimo Requerido                                                            $2,119.14
              Menos
           Saldo mínimo proyectado                                        -$690.95+$1,620.24 = $929.29
           Cantidad necesaria para que su cuenta tenga fondos                               $1,189.85
           suficientes

Si tiene preguntas, por favor háganoslo saber. Llámenos al 800.669.6607, lunes-viernes 8a.m. a 9p.m. ET. Puede
revisar su cuenta en cualquier momento en www.bankofamerica.com.
Case 22-16289-CLC   Doc 73   Filed 07/25/23   Page 10 of 10
